                   Case 1:21-cv-02461-CAP Document 1 Filed 06/16/21 Page 1 of 7




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

    LORENA PEREZ,

    Plaintiff,

    v.                                                 CIVIL ACTION FILE NO.:

    NORMAN L. QUALLS, ATLANTIC
    FREIGHT, INC., and KNIGHT
    SPECIALTY INSURANCE
    COMPANY,

                        Defendants.

                            DEFENDANTS’ NOTICE OF REMOVAL

            COMES NOW Defendants NORMAN L. QUALLS, ATLANTIC FREIGHT,

INC., and KNIGHT SPECIALTY INSURANCE COMPANY, by and through

counsel, and, without waiving any defenses as to process, service of process1,

jurisdiction or proper party, file this Notice of Removal as follows:

                                                  1.

            Plaintiff LORENA PEREZ (hereinafter “Plaintiff”) filed a civil action against

Defendants in the State Court of Fulton County, State of Georgia, Civil Action File




1
 Defendant Norman L. Qualls has not yet been served, but contemporaneously files
a Special Appearance by Way of Answer herewith.

M0738457.1 15410                            -1-
                   Case 1:21-cv-02461-CAP Document 1 Filed 06/16/21 Page 2 of 7




No. 21EV002953 on May 20, 2021. A copy of the Complaint and all pleadings filed

in the State Court action are attached hereto as Exhibit “A”.

                                                  2.

            Upon information and belief, Plaintiff is a citizen of the State of Georgia.

                                                  3.

            Defendant Atlantic Freight, Inc. is a Florida corporation, which is both its state

of incorporation and the state in which it maintains its principal place of business.

28 U.S.C. § 1332 (c) (1). Atlantic Freight, Inc.’s registered agent is Maksim Paly,

who maintains his registered office at 233 Tresca Road, Jacksonville, FL 32225.

Atlantic Freight, Inc.’s principal place of business is 233 Tresca Road, Jacksonville,

FL 32225. See Florida Corporations Database printout attached as Exhibit “B”.

Accordingly, Atlantic Freight, Inc. is a citizen of the State of Florida.

                                                  5.

            Knight Specialty Insurance Company is a foreign company organized under

the laws of the State of Delaware, as shown by the entity’s corporate registration

with the Delaware Secretary of State’s Office, a copy of which is attached hereto as

Exhibit “C”. Knight Specialty Insurance Company’s principal place of business is

4751 Wilshire Blvd. #111, Los Angeles, CA 90010. Knight Specialty Insurance

Company is therefore a citizen of the States of Delaware and California under the


M0738457.1 15410                            -2-
                   Case 1:21-cv-02461-CAP Document 1 Filed 06/16/21 Page 3 of 7




United State Supreme Court’s “nerve center” analysis.2

                                                  6.

            Complete diversity of citizenship exists between Plaintiff and the Defendants

for purposes of 28 U.S.C. § 1332 (c) (1).

                                                  7.

            With respect to removal on the basis of diversity jurisdiction, this removal is

timely because it has been filed within thirty (30) days of Defendant Atlantic

Freight’s receipt of service papers on May 21, 2021. This Notice of Removal is also

timely because it is filed within thirty (30) days after receipt by a Defendant of a

copy of the initial pleading setting forth the claim upon which this action is based.

28 U.S.C. § 1446 (b). The parties being fully diverse, this Court has jurisdiction

pursuant to 28 U.S.C. § 1332 (a)(1).

                                                  8.

            In her Complaint, Plaintiff claims she “suffered severe and permanent

injuries” as a result of the collision in the amount of $196,639.40 (See Complaint,




2
  To the best of these Defendants’ information and belief, Defendant Knight
Specialty Insurance Company has not yet been served, and has not yet retained
defense counsel. Notwithstanding, this information is being provided for the
purposes of showing complete diversity and the appropriateness of removal.

M0738457.1 15410                            -3-
                   Case 1:21-cv-02461-CAP Document 1 Filed 06/16/21 Page 4 of 7




Exhibit “A”, at ¶28). Accordingly, this Court’s jurisdictional amount-in-controversy

threshold of $75,000 has been satisfied.

                                                  9.

            Defendants hereby give notice within thirty (30) days after service and receipt

by Defendants of a copy of the Complaint filed in the State Court of Fulton County,

State of Georgia, pursuant to 28 U.S.C. § 1446 and Rule 11 of the Federal Rules of

Civil Procedure, of the removal of this action to this Court.

                                                  10.

            Defendants have simultaneously filed a Notice of Filing Removal in the State

Court of Fulton County, State of Georgia. A copy of the Notice of Filing Removal,

exclusive of exhibits, being filed with the State Court of Cobb County is attached

hereto as Exhibit “D”.

                                                  11.

            Good and sufficient defenses to Plaintiff’s claims exist. See Defendants’

Answer/Special Appearance Answer, filed as Exhibit “E” herewith.

                                                  12.

            No previous application for the relief sought herein has been made to this or

any other Court.




M0738457.1 15410                            -4-
                   Case 1:21-cv-02461-CAP Document 1 Filed 06/16/21 Page 5 of 7




            WHEREFORE, it is hereby requested that this Court grant the removal of this

case to the United States District Court for the Northern District of Georgia, in which

district this suit is pending.

            Respectfully submitted this 16th day of June, 2021.

                                                  McMICKLE, KUREY & BRANCH, LLP

                                                  /s/ Zach M. Matthews
                                                  ZACH M. MATTHEWS
 217 Roswell Street, Suite 200                    Georgia Bar No.: 211231
 Alpharetta, Georgia 30009                        Attorney for Defendants Atlantic
 Telephone: (678) 824-7800                        Freight, Inc., and Knight Specialty
 Facsimile: (678) 824-7801                        Insurance Company
 Email: zmatthews@mkblawfirm.com




M0738457.1 15410                            -5-
                   Case 1:21-cv-02461-CAP Document 1 Filed 06/16/21 Page 6 of 7




                               CERTIFICATE OF COMPLIANCE

            The undersigned hereby certifies that the foregoing pleading complies with

the font and point selections approved by the Court in Local Rule 5.1C. This

pleading has been prepared in Times New Roman font, 14 point.


                                              /s/ Zach M. Matthews
                                              ZACH M. MATTHEWS
                                              For the Firm




M0738457.1 15410                            -6-
                   Case 1:21-cv-02461-CAP Document 1 Filed 06/16/21 Page 7 of 7




                                 CERTIFICATE OF SERVICE

            I hereby certify that on this date I have electronically filed DEFENDANTS’

NOTICE OF REMOVAL with the Clerk of Court using the CM/ECF system which

will automatically send email notification of such filing to the following attorneys

of record:

                                          James Sackey
                                       Monge & Associates
                                8205 Dunwoody Place, Building 19
                                       Atlanta, GA 30350
                                      Attorneys for Plaintiff

            This 16th day of June 2021.


                                              /s/ Zach M. Matthews
                                              ZACH M. MATTHEWS
                                              For the Firm




M0738457.1 15410                            -7-
